IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

CASE NO.: 6: ll-cv-1637-Orl-31DAB

AJIT BHROGAITA,

Plaintiff,

VS.

ALTAMONTE HEIGHTS
CONDOMINIUM ASSOCIATION,

INC.,
Defendant.
DEPOSITION OF AJIT BHOGAILTA
VOLUME I
Taken on Behalf cf the Defendant
DATE TAKEN: THURSDAY, JUNE 14, 2012
TIME: 10:00 A.M. - 5:49 PLM.
PLACE: COLE, SCOTT & KISSANE, P.A.
1900 SUMMET TOWER BOULEVARD
SUITE 7590

ORLANDO, FLORIDA 32810

Examination of the witness taken before:

ANTHONY TRUJILLO
Registered Professional Reporter
Florida Professional Reporter

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that correct?

A.

Q.

Q.
A.

every day,

Yes, sir.

Okay.

Actually, can I look at that real quick?
Thanks, Mr. Ackerman. Perfect.

If I could just --

Sorry.
-- have a second to read -- to read this here.
T don't -- I don't get a chance to look at it

so 7 wanted to double check it, make sure I'm

Giving you the right form.

Q.

What -- what was -- it's -- it just -- looking

at this first page of this Exhibit No. 2, it mentions

some type of disability.

BY MR.

Q.

what?

Was that the reason for the discharge?
Yes, sir.

And what was the nature of the disability?
THE WITNESS: Po I have to answer that?

MR. BATES: Yes.

Yes, five knee surgeries and PTSD at the time.

THE REPORTER: Excuse me?

THE WITNESS: Five knee surgeries and PTSD.

ACKERMAN:

Now, when you say PTSD, that's an acronym for

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Q. Okay.

A. IT agree to that.

Q. Okay. And -- and since you did not own your
dog, Kane --

A. Uh-huh.

Q. -- you were not involved in any --
Altamonte Heights had not sent you any letter asking you

to remove your dog, Kane, right?

A, Yes, Sir, exactly.

Q. Okay. I -- I'm trying to word it
appropriately. It's a pretty obvious question, but ~--
all right.

So then -- I mean, would you agree with me that

these records from the 2006, 2007 time frame indicate

that you were suffering from multiple symptoms relating
to depression and substance abuse?

A. And PTSD and MST.

MR. BATES: Objection to form.

Q. Okay. Well, can you -- let me -- let me ask it
again, okay? Just -- would you agree that these records
demonstrate that you were suffering from depression
during that time frame?

MR. BATES: Same objection. Answer to the best

of your ability.

A. Depression and PTSD caused by MST.

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A. Okay. Okay.

Q. Was the --

A. T can tell you that IT was -- when
September llth happened, I was at my condo for sure.

Q. 9/11?

A. So I was clean [sic], moved out when $/il

happened. TF know that,

Q. Got you. And -~- and was the first place that

you lived after moving out of your parents' house the

Altamonte Heights condo?

A. It's my first nome, yes, sir.

Q. Okay. And you -- that's a condominium unit,
correct?

A. Yeah.

Q. All right. And you purchased it from who?

MR. BATES: Answer if you can.

A. IT don’t remember their name.

QO. That's fine.

A. IT have -- I know -- it was -- I] purchased it
from a person, obviously. Tt wasn't like -- it wasn't

like a government auction or a foreclosure or something,
a short sale. It wasn't like that.

Q. Okay.

A. Tt was, you know, an actual, regular purchase

of a conde.

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Q. With a mortgage?

A. Yeah, yeah.
Q. Okay.
A Exactly.

Q. All right. Now, did you -- after the MST
incident, did you inform your parents of that incident?
When was the first time that you disclosed that

to your parents, if ~-- if you've ever disclosed it to

them?
A. Never.
Q. They don't know about it? I guess that's what

"never" means, right? I just want to clarify.

A. Never.

Q. Never?

A. Yeah.

Q. Okay. So your parents don't know.

A. No,

QO. Okay. Are you writing down something?

A. Yeah, I don't want to be here.

Q. Oh, yeah. You can just -~ you don't have to

write it down.
A. Uh-huh.
Q. You -- if you need a bathroom break, we can

take a bathroom break whenever you need to. We'll

take --

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